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 6 Attorneys for Plaintiff
   United States of America
 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                            2:18-CR-0001-MCE
12                                 Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                          STATUS CONFERENCE
13                          v.
                                                          Date: March 15, 2018
14   TONY ACOSTA ALVAREZ, and                             Time: 10:00 a.m.
     LIONEL ORNELAS, aka LIONEL ORNELUS,                  Judge: Hon. Morrison C. England, Jr.
15
                                  Defendants.
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17
18          Plaintiff United States of America, through its respective counsel, and defendants Tony Acosta

19 Alvarez and Lionel Ornelas, through their counsel of record, stipulate that the status conference currently
20 set for March 15, 2018, be continued to April 12, 2018, at 10:00 a.m.
21          On January 4, 2018, Mr. Alvarez and Mr. Ornelas were both arraigned on the twenty-nine-count

22 Indictment in this case. (ECF No. 21.) Since that time, the United States has produced 300-plus pages
23 of discovery to each defendant, which includes the defendants’ criminal histories, three complete search
24 warrant packages from December 19, 2017 (the day each man was arrested at his home), and all of the
25 investigative packages (i.e., pen-trap and § 2703(d) packages) submitted to the Court during the lifespan
26 of this 8-month investigation. Recently, the government received from the Federal Bureau of Invest-

27 igation an additional set of materials, which includes all official reports prepared in connection with this
28 case, and all audio and video recordings from surveillance. The government will prepare these materials

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 1 for disclosure to both defense counsel, who will require additional time to review these new materials, as
 2 well as the materials already produced, to discuss them their clients, to conduct additional investigation,
 3 and to otherwise prepare for trial.
 4          Based on the foregoing, the parties stipulate that the status conference currently scheduled for

 5 March 15, 2018, be continued to April 12, 2018, at 10:00 a.m. The parties further agree that time under
 6 the Speedy Trial Act should be excluded from the date this order issues to and including April 12, 2018,
 7 under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479, Local
 8 Code T4, based on continuity of counsel and defense preparation.

 9          Counsel and the Defendants also agree that the ends of justice served by the Court granting the

10 requested continuance outweigh the best interests of the public and the Defendants in a speedy trial.
11                                                        Respectfully submitted,

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13 Dated: March 13, 2018                                  _/s/ Timothy H. Delgado____________
                                                          TIMOTHY H. DELGADO
14                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff United States
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16
     Dated: March 13, 2018                                _/s/ THD for Michael Petrik, Jr.______
17                                                        MICHAEL PETRIK, JR.
                                                          Assistant Federal Defender
18                                                        Attorney for Defendant Tony Acosta Alvarez
19
20 Dated: March 13, 2018                                  _/s/ THD for Tasha Paris Chalfant____
                                                          TASHA PARIS CHALFANT
21                                                        Attorney for Defendant Lionel Ornelas
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       CONFERENCE
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 1                                                      ORDER

 2           The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. It specifically finds that the failure to
 4 grant a continuance in this case would deny counsel reasonable time necessary for effective preparation,
 5 taking into account the exercise of due diligence. The Court further finds that the ends of justice are
 6 served by granting the requested continuance and outweigh the best interests of the public and the
 7 Defendants in a speedy trial.
 8           Time from the date the parties stipulated, up to and including April 12, 2018, shall be excluded

 9 from computation of time within which the trial in this case must be commenced under the Speedy Trial
10 Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time for counsel to prepare] and
11 General Order 479 (Local Code T4). It is further ordered that the March 15, 2018 status conference shall
12 be continued until April 12, 2018, at 10:00 a.m.
13           IT IS SO ORDERED.

14 Dated: March 17, 2018
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       STIPULATION AND ORDER TO CONTINUE STATUS             3
       CONFERENCE
